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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LOUIS AGRE, et al.                                              CIVIL ACTION

           v.                                                    NO. 17-4392

 THOMAS W. WOLF, Governor of the
 Commonwealth of Pennsylvania, JONATHAN
 MARKS, Commissioner of the Pennsylvania
 Bureau of Commissions, Elections and
 Legislation, ROBERT TORRES, Acting
 Secretary of the Commonwealth of Pennsylvania,
 JOSEPH B. SCARNATI, III, President Pro
 Tempore of the Pennsylvania Senate, and
 MICHAEL C. TURZAI, Speaker of the
 Pennsylvania House of Representatives, in their
 official capacities.

                                                         JUDGMENT

BEFORE: Smith, Chief Circuit Judge; Shwartz, Circuit Judge; Baylson, District Judge:

         AND NOW this 10th day of January, 2018, based on the opinions of Chief Circuit Judge

Smith and Circuit Judge Shwartz, filed today, it is ORDERED

         That FINAL JUDGMENT is entered in favor of all Defendants and against Plaintiffs.

         Judge Baylson has filed a dissenting opinion.

                                                          BY THE COURT:




                                                          D. Brooks Smith
                                                          Chief United States Circuit Judge



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